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                  EXHIBIT 10
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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, THOMAS BAKER and JOHN
   DOE,

                                  Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
                                                Civil Action No. 3: 17-cv-00072-NKM
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS, LEAGUE
   OF THE SOUTH, JEFF SCHOEP, NATIONAL
   SOCIALIST MOVEMENT, NATIONALIST
   FRONT, AUGUSTUS SOL INVICTUS,
   FRATERNAL ORDER OF THE ALT-
   KNIGHTS, LOYAL WHITE KNIGHTS OF THE
   KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                                 Defendants.




                    NOTICE OF DEPOSITION OF DEFENDANT
                           JAMES ALEX FIELDS, JR.
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        PLEASE TAKE NOTICE that pursuant to Rule 30(b)(1) of the Federal Rules of Civil

 Procedure, Plaintiffs, by and through their undersigned counsel, will take the deposition upon

 oral examination of Defendant James Alex Fields, Jr. at 9:30 a.m. ET on August 25, 2020, and

 will continue from day to day until completed. The deposition will be conducted before a Notary

 Public or other officer authorized by law to administer oaths. The deposition will take place via

 videoconference, as agreed upon by the parties, or at such other location, date, method and time

 as may be mutually agreed upon by the parties, the Court, and the Bureau of Prisons. The

 deposition will be recorded by stenographic means, and will be recorded by video means and

 through the instant visual display of the testimony. The deposition will be taken for the purposes

 of discovery and all other purposes permitted by the Federal Rules of Civil Procedure.

  Dated: July 24, 2020                               Respectfully submitted,

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                                        CERTIFICATE OF SERVICE

         I hereby certify that on July 24, 2020, I served the foregoing upon following counsel and
 pro se defendants, via electronic mail, as follows:

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